Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 1 of 26 PageID 26




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


DIONNE YOUNCE and,               )
KENNETH W. GREENE                )
                                 )
   Plaintiffs,                   )
                                 )
    v.                           )                     Case No. 3:22-CV-00931
                                 )
                                 )
                                 )
CITY OF JACKSONVILLE, FLORIDA,   )
a Florida municipal corporation, )
                                 )
                                 )
     Defendant.                  )
______________________________)

               MOTION FOR PRELIMINARY INJUNCTION

      A City of Jacksonville ordinance requires all residents on the sex offender

registry to post a sign on their front door every Halloween stating, “no candy or

treats here.” The ordinance also prohibits such residents from displaying any

decorations if the display is “primarily targeted to entice, attract, or lure a child”

onto the property. A violation of either provision is punishable by a fine or

imprisonment

      These provisions are unconstitutional, both facially and as applied to

Plaintiffs. The sign-posting provision requires Plaintiffs to broadcast a

government message against their will, and therefore amounts to compelled

speech in violation of the First Amendment. Moreover, the restriction on home
    Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 2 of 26 PageID 27




displays infringes on their right to engage in expressive conduct, in violation of

the First Amendment’s guarantee of free speech. Finally, the display restriction is

unconstitutionally vague because it fails to provide notice that is adequate to

enable an ordinary person to understand what is required to comply with it, in

violation of the Due Process Clause of the Fourteenth Amendment.

         Plaintiffs, residents of the City of Jacksonville who are registered sexual

offenders, do not wish to be compelled to carry the government’s message on

Halloween. They also want to engage in expressive conduct by displaying holiday

and religious decorations during the upcoming holiday season without fear of

arrest and prosecution. Plaintiffs thus seek a preliminary injunction declaring

the challenged provisions of the ordinance unconstitutional and enjoining their

enforcement.

                                 SUMMARY OF FACTS1

         A. Jacksonville City Ordinance §685.104: Prohibited Activities
         for Sexual Offenders and Sexual Predators Related to a
         Nationally or Locally Holiday or Seasonal Events.

         In 2015, the City of Jacksonville enacted City Ordinance § 685.104, entitled

“Prohibited Activities for Sexual Offenders and Sexual Predators Related to a

Nationally or Locally Holiday or Seasonal Events.”                  Ordinance 2015-2014-E,

Exhibit 1. Changes were made to the Ordinance by an amendment in 2016, see



1Plaintiffs hereby adopt and incorporate herein the Statement of Facts as set forth in ¶¶ 16-56 of
Plaintiffs’ Verified Complaint, ECF 1.
                                               -2-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 3 of 26 PageID 28




Ord. 2016-233-E, Exhibit 2, which resulted in the Ordinance in its present form.

Section 685.104, Exhibit 3.

      Section 685.104(a)(3)(ii), which regulates Halloween activities, states as

follows:

      (3) Any person designated a Sexual Offender or Sexual Predator shall:

       (ii) From 6:00 a.m. to 11:59 p.m., on October 31 (or any other day on
which Halloween is celebrated) post a sign at his or her residence, including a
vessel, or vehicle, stating, "No candy or treats here." Such signs shall be in
letters at least two inches high and shall be legible on the property leased,
rented, owned or occupied by the Sexual Offender or Sexual Predator, and
clearly visible from the street, waterway, or any property that is open to public
access. The signs may be removed after 11:59 p.m. on October 31, or the day on
which Halloween is celebrated.

      Moreover, under § 685.104(a)(3)(iv), a sexual offender or predator shall:

      (iv) Not place or allow any display, including but not limited to displays
for any nationally or locally recognized holiday or seasonal event or practice, to
be visible from the exterior of any Sexual Offender's or Sexual Predator's
residence, including a vehicle or vessel, or on any property which is leased,
rented, owned or occupied by such person, if such display is primarily targeted
to entice, attract, or lure a child onto any residence or property, or onto or
nearer to any vehicle or vessel rented, owned or occupied by such person.
Enforcement of this section shall not be limited to the actual calendar date of
any given nationally or locally recognized holiday or seasonal event or practice.

      In the Definitions section, § 685.104(b)(4), “Display” is defined as “any

decoration including, but not be limited to, lighting, figurines, posters, artwork,

crystals, bales of hay, scarecrows, etc. which is visible to the public in plain view

and is primarily targeted toward children.” There is no definition, however, of

the term “primarily targeted toward children.” Nor does the Ordinance define


                                         -3-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 4 of 26 PageID 29




the phrase “primarily targeted to entice, attract, or lure a child,” in §

685.104(a)(3)(iv).

       A violation of the Ordinance is punishable by “a fine not exceeding

$500.00 for each occurrence, or by imprisonment for a term not exceeding 60

days or by both a fine and imprisonment for each occurrence, unless prohibited

by law.” § 685.104(c).

       The Ordinance is “enforceable throughout Duval County,” § 685.104(e),

and is actively enforced by the Jacksonville Sheriff’s Office. See News story,

Exhibit 4. Every year on Halloween, detectives from the Jacksonville Sheriff’s

Office visit the home of registrants to check if they have posted the required sign

stating, “No candy or treats here,” pursuant to § 685.104(a)(3)(ii). ECF 1 at ¶ 25.

During other holidays and seasonal events, particularly during the Christmas

holiday season, detectives check the residences to determine if there are displays

which are “primarily targeted to entice, attract, or lure a child,” and in violation

of § 685.104(a)(3)(iv). Id. at ¶ 26.

      The State of Florida has a sexual offender and predator registry which is

available to the public on its website. Through the search function, the public can

put in an address to determine if a sexual offender or predator lives at that

specific                               location.                                See

https://offender.fdle.state.fl.us/offender/sops/offenderSearch.jsf.             The

Jacksonville Sheriff’s Office website has a link on its homepage which

                                        -4-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 5 of 26 PageID 30




automatically connects the user to the Florida sexual offender registry.         On

Halloween, the Jacksonville Sheriff’s Office sends alerts to the public through its

website which inform the public of the restrictions in the Ordinance.            See

Jacksonville Sherriff’s Office, Bulletin, Sexual Offenders and Sexual Predators on

Halloween (Oct. 27, 2021), Exhibit 5.

      B.    Effects of        the    Halloween       Sign    Requirement:          §
      685.104(a)(3)(ii)

      Plaintiffs are residents and homeowners in the City of Jacksonville who are

required to register as sexual offenders and are thus subject to the requirements

of the Ordinance.      Plaintiff Younce has a college education, works in the

restaurant business, and has lived in Jacksonville for eight years. ECF 1 at ¶¶ 13,

30. Plaintiff Greene was honorably discharged from the U.S. Navy, is currently

retired from the home improvement industry, and has lived in Jacksonville for

sixty years, where he spends time with his wife and six grandchildren who live in

the area. Id. at ¶¶ 14, 44.

      Pursuant to § 685.104(a)(3)(ii). on every Halloween from 6:00 a.m. until

11:59 p.m., Plaintiffs have posted a sign in two-inch letters at their residence

which states, “No candy or treats here.”

      For Plaintiffs, Halloween is a day of great stress, anxiety, and fear. On that

day, Plaintiffs stay at home and constantly check to see that the sign is properly in

place and clearly visible from the street out of fear that the sign will become

dislodged, obscured, or even taken down in an act of vandalism. ECF 1 at ¶ 33,
                                           -5-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 6 of 26 PageID 31




47. Because the Jacksonville Sheriff’s Office alerts the public on its website on

every Halloween that all sexual offenders and predators are required to post the

sign, Plaintiffs fear that people will target them for harassment, vandalism, and

even violence. See id. at ¶¶ 34, 47; Bulletin, Exhibit 5.

      Plaintiffs object to being compelled to having to publicly identify

themselves as people designated as sexual offenders, and their homes as places

where one resides. They also object to the sign’s implication that they pose a

danger to children, a message with which they vehemently disagree. This public

declaration at Halloween draws immediate attention to their residence and

exposes them to a real threat of harassment, vandalism, and the dangerous

mischief common on Halloween night. Plaintiffs are trying to move past their

convictions, but this sign impedes that transition by exposing them to ridicule

each year during Halloween. ECF 1 at ¶¶ 35, 48.

      Despite their objections to having to post the sign on Halloween, Plaintiffs

dutifully comply because they fear being arrested and prosecuted under the

Ordinance. Id. at ¶¶ 36, 49.

          C. Effects of the Ban on Displays: § 685.104(a)(3)(iv)

                   1)     Plaintiff Dionne Younce

      Plaintiff Younce wants to place a display on the outside of her home during

holidays and seasonal events, but she does not because of the restriction in §

685.104(a)(3)(iv), which prohibits designated sexual offenders from placing a

                                         -6-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 7 of 26 PageID 32




display outside their home which is “primarily targeted to entice, attract, or lure a

child” onto their property. Prior to being designated as a sexual offender, Ms.

Younce routinely decorated the outside of her residence with various displays

during several different holiday and seasonal events, especially during the

Christmas season. ECF 1 at ¶¶ 37-39.

      For the Christmas season, Ms. Younce presently wants to decorate the

outside of her home with a traditional Christmas display that includes colored

and white lights trimming the windows and front door of her home, a Christmas

wreath on her front door, and a manger with a figure of baby Jesus. The message

Ms. Younce seeks to convey by the display is that Christmas is the season to

celebrate love, peace, happiness, joy, charity to others, and the birth of Jesus. Id.

at ¶ 40.

       For Thanksgiving, Ms. Younce presently wants to decorate the outside of

her home with the following items: a harvest wreath of fall florals and greenery

on her front door; pumpkins and other gourds; a cornucopia of various produce

and flowers; hay; and a scarecrow. The message Ms. Younce seeks to convey by

the display is that Thanksgiving is the season to give thanks, to be grateful for the

blessings we enjoy, and to share and help others. Ms. Younce also seeks to convey

the importance of family. Id. at ¶ 41.

      Ms. Younce has spoken to law enforcement officers and asked whether

certain displays were appropriate and complied with the Ordinance. She has

                                         -7-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 8 of 26 PageID 33




been given inconsistent answers and has been told only that she can put a display

on the outside of her home so long as the display does not “entice, attract, or lure

a child” onto her property. She has been given no clear guidance or direction by

law enforcement as to what constitutes a violation of the Ordinance and has been

left to guess whether a certain display or item would violate the law. The threat

of arbitrary enforcement of the Ordinance has been taxing and has deterred Ms.

Younce from putting displays and decorations outside her home during the

Thanksgiving and Christmas seasons. Id. at ¶ 42.

      As a result, Ms. Younce does not put any displays or decorations on the

outside of her home at any time because she is fearful of being arrested and

prosecuted under § 685.104(a)(3)(iv) of the Ordinance. Id. at ¶ 43.

                   2)      Plaintiff Kenneth W. Greene

      Mr. Greene also wants to place a display on the outside of his home during

the Christmas season, but he does not because of the restriction in §

685.104(a)(3)(iv). Prior to being designated as a sexual offender, he annually

decorated the outside of his residence with various displays during the Christmas

season. Id. at ¶¶ 50-51.

      A devout Christian, Mr. Greene would like to put out a Christmas display—

as he used to prior to being designated as a sexual offender—which includes a

wreath on his door and lights on the front of his house, and which features a four-

foot cross with white lights on the center of his lawn. Mr. Greene believes that

                                        -8-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 9 of 26 PageID 34




Christmas has become too commercialized and that many people have forgotten

the true meaning of Christmas. Through his display he wants to express that the

purpose of the Christmas holiday is to celebrate the birth of Jesus. Id. at ¶ 52.

      Mr. Greene has spoken to law enforcement officers and asked whether

certain displays were appropriate and complied with the Ordinance. He has been

given inconsistent answers and has been told only that he can put a display on

the outside of his home so long as it does not “entice, attract, or lure a child” onto

his property. He has also been told that the prohibition applies to displays inside

his home if they can be seen from the outside. Id. at ¶ 53. He has been given no

clear guidance or direction by law enforcement as to what constitutes a violation

of the Ordinance and has been left to guess whether a certain display would

violate the law. The threat of arbitrary enforcement of the Ordinance has caused

Mr. Greene distress and has deterred him from putting a display outside his

home during the Christmas season. Id. at ¶¶ 54-55.

      As a result, Plaintiff Greene does not put any displays or decorations on

the outside of his home at any time because he is fearful of being arrested and

prosecuted under § 685.104(a)(3)(iv) of the Ordinance. Id. at ¶ 56.

                                   ARGUMENT

      Plaintiffs are entitled to a preliminary injunction enjoining the

enforcement of §§ 685.104(a)(3)(ii) and (iv) of the Ordinance to allow Plaintiffs,

and all other registered offenders, to exercise their rights under the First

                                         -9-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 10 of 26 PageID 35




Amendment. A district court may issue preliminary injunctive relief when: (1)

there is “a substantial likelihood that [plaintiffs] will succeed later on the merits”;

(2) the plaintiffs “will suffer an irreparable injury absent preliminary relief”; (3)

the plaintiffs’ injuries likely “outweigh any harm that its opponent will suffer as a

result of an injunction”; and (4) preliminary relief would not “disserve the public

interest.” Scott v. Roberts, 612 F.2d 1279, 1290 (11th Cir. 2010).

I.    Plaintiffs Are Likely to Prevail on the Merits of Their Claim in
      Count I That § 685.104(a)(3)(ii) Compels Speech in Violation of
      the First Amendment.

      The First Amendment “includes both the right to speak freely and the right

to refrain from speaking at all.” McClendon v. Long, 22 F.4th 1330, 1336 (11th

Cir. 2022) (quoting Wooley v. Maynard, 430 U.S. 705, 714 (1977)).                 The

requirement to post a sign at their residence plainly compels Plaintiffs to

broadcast the government’s message against their wishes, and therefore must

satisfy strict scrutiny.     Because Defendant cannot demonstrate that the

requirement is the least restrictive means of achieving a compelling government

interest, the provision violates the First Amendment.

      In fact, the Eleventh Circuit recently struck down a practice nearly identical

to the one at issue here, holding that it amounted to unconstitutional compelled

speech. McClendon, 22 F.4th at 1337.            In McClendon, the Eleventh Circuit

confronted a county sheriff who directed his deputies on Halloween to post a sign

in the yard of every registered sex offender in the county which stated: “STOP.

                                         -10-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 11 of 26 PageID 36




Warning! STOP. No trick-or treat at this address!! A Community Safety Message

from Butts County Sheriff Gary Long.” Id. at 1332. The Court held that the

warning signs violated the First Amendment because they compelled the sex

offenders to speak against their will, even though the sheriff posted the signs.

       Section 685.104(a)(3)(ii) plainly constitutes unconstitutional compelled

speech under McClendon.              It requires Plaintiffs and all registered sexual

offenders to post a similar sign at their residence themselves—a requirement that

compels speech to a much further degree than the sheriff-posted signs in

McClendon. By requiring Plaintiffs to post the sign at their residence under pain

of arrest and prosecution, the Ordinance compels Plaintiffs to effectively

announce to the public that they are sexual offenders and that they pose an

extreme danger to children—a message with which they vehemently disagree. By

requiring Plaintiffs to use their own homes to serve “as a ‘billboard’ for

government speech,” Defendant has compelled Plaintiffs to speak in violation of

the First Amendment. Id. at 1337 (quoting Wooley, 430 U.S. at 713).2

       Because the Halloween sign requirement is classic compelled speech, it is a

content-based burden that must satisfy strict scrutiny. Id. at 1337-38. That is, the

City must demonstrate that the sign-posting requirement is a “narrowly tailored


2 Moreover, the provision violates the speech rights not just of sexual offenders but also of
anyone else who lives in the same residence as the offender. Section 685.104(a)(3)(ii) requires
the signs to be posted on all “property leased, rented, owned, or occupied by the sexual offender
or predator.” So, for example, a non-offender parent who owns their home and allows their
child—a registered sexual offender—to live with them is forced to post the sign on their property.

                                              -11-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 12 of 26 PageID 37




means of serving a compelling state interest.” Id. at 1338. The City must also

show that the provision is the “least restrictive means” of accomplishing that vital

interest. United States v. Playboy Entm't Grp., Inc., 529 U.S. 803, 813 (2000)

(“If a less restrictive alternative would serve the Government's purpose, the

legislature must use that alternative.”). This is a difficult hurdle to clear, as

content-based restrictions on speech “are presumptively invalid.” R.A.V. v. City

of St. Paul, 505 U.S. 377, 382 (1992). And the City “bears the burden of rebutting

the presumption of invalidity.” Playboy Ent. Group, 529 U.S. at 817. Indeed,

“[f]ew laws survive” this exacting standard, Burk v. Augusta-Richmond County,

365 F.3d 1247, 1255 (11th Cir. 2004), and section 685.104(a)(3)(ii) is no

exception.

      Plaintiffs do not contest that the protection of children is a compelling state

interest, but the City cannot show that the ordinance is the least restrictive means

of achieving it.   As in McClendon, Defendant cannot show that Jacksonville

registrants “actually pose a danger to trick-or-treating children or that these signs

would serve to prevent such danger.” McClendon, 22 F.4th at 1338. And as in

McClendon, the state makes its sex offender registry readily accessible online,

and the Jacksonville Sheriff prominently promotes the registry’s use by the public

on its website—including in a special online alert on Halloween—thereby

“diminishing the need to require residents to disseminate the same information

in yard signs on their private property.” Id. Thus, even “[a]ssuming that yard

                                        -12-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 13 of 26 PageID 38




signs alerting people to the residences of registered sex offenders on Halloween

would prevent the sexual abuse of children . . . the signs are not tailored narrowly

enough.” Id. Section 685.104(a)(3)(ii) therefore fails strict scrutiny.

      Other district courts have reached similar conclusions. For example, in

Doe v. City of Simi Valley, a court struck down an ordinance that was virtually

identical to section 685.104(a)(3)(ii), holding that it amounted to compelled

speech in violation of the First Amendment. Case No. 12-8377 PA (VBKX), 2012

WL 12507598, at *8 (C.D. Cal. Oct. 29, 2012). The court held that the city’s

Halloween ordinance requiring sex offenders to post a sign on their front door

stating, “No candy or treats at this residence” “compel[led] sex offenders to

speak” and did not satisfy strict scrutiny. Id. at *7. See also Doe 1 v. Marshall,

367 F. Supp. 3d 1310, 1318, 1321 (M.D. Ala. 2019) (state law requiring offender’s

driver’s license “branded” with “CRIMINAL SEX OFFENDER” in bold letters was

compelled speech and violated the First Amendment). Plaintiffs therefore have

demonstrated a substantial likelihood of success on the merits of their compelled

speech claim.

II.   Plaintiffs Are Likely to Prevail on Their Claim in Count II That
      The Restriction on Displays in § 685.104(a)(3)(iv) Violates the
      First Amendment.

      A. Holiday and Seasonal Displays Are Expressive Conduct
         Protected by the First Amendment

      Constitutional protection for freedom of speech “does not end at the

spoken or written word.” Texas v. Johnson, 491 U.S. 397, 404 (1989). Indeed,
                                        -13-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 14 of 26 PageID 39




the First Amendment guarantees “all people . . . the right to engage not only in

‘pure speech,’ but ‘expressive conduct’ as well.” Holloman v. Harland, 370 F.3d

1252, 1270 (11th Cir. 2004) (quoting United States v. O’Brien, 391 U.S. 367, 376–

77 (1968)). And the right to engage in protected expressive conduct at one’s

home has long been recognized. See Burns v. Town of Palm Beach, 999 F.3d

1317, 1334 (11th Cir. 2021).

      Courts apply a two-part test to determine whether particular actions

qualify as expressive conduct that is protected by the First Amendment. The test

asks: (1) “whether ‘[a]n intent to convey a particularized message was present,’”

and (2) whether “the likelihood was great that the message would be understood

by those who viewed it.” Id. at 1336–37. See also Fort Lauderdale Food Not

Bombs v. City of Fort Lauderdale, 901 F.3d 1235, 1240 (11th Cir. 2018)

(describing the two-part test and holding that food sharing qualified as

expressive conduct). In applying the second factor, though, a particularized

message need not be apparent. Rather, this factor asks simply “whether the

reasonable person would interpret [the conduct] as some sort of message, not

whether an observer would necessarily infer a specific message.” Holloman, 370

F.3d at 1270.

      The holiday and seasonal displays which Plaintiffs want to place in front of

their homes—Christmas decorations which include lights, wreaths, figurines, a

cross, and a manger scene—clearly qualify as expressive conduct. First, Plaintiffs

                                       -14-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 15 of 26 PageID 40




intend to convey a message of peace, love, appreciation for the Christmas spirit,

the importance of family, and the birth of Jesus. ECF 1 at ¶¶ 40, 41, 52. Second,

a message is plainly apparent to a reasonable viewer. Christmas decorations are

reasonably understood as universal messages of peace, love, and happiness, and

the inclusion of a manger scene and cross has long been seen as an expression of

the Christian faith. See Lynch v. Donnelly, 465 U.S. 668, 685 (1984) (“Even the

traditional, purely secular displays extant at Christmas, with or without a crèche,

would inevitably recall the religious nature of the Holiday. The display engenders

a friendly community spirit of good will in keeping with the season.”);

Grutzmacher v. Pub. Bldg. Comm'n of Chicago, 700 F. Supp. 1497, 1504 (N.D.

Ill. 1988) (“Christmas trees, wreaths, and garlands are secular expressions of the

‘Christmas Holiday Season’ as a universally recognized period of happiness,

gentleness and kindness among people.”).         Plaintiffs’ holiday displays are

therefore protected expressive conduct.

      B. The ban on displays in § 685.104(a)(3)(iv) fails intermediate
         scrutiny.

      Because Section 685.104(a)(3)(iv) of the Ordinance burdens expressive

conduct, it must satisfy intermediate scrutiny, meaning the City must show that

the law is narrowly tailored to achieve a significant government interest and that

it leaves open ample alternatives of communication. Bloedorn v. Grube, 631 F.3d

1218, 1231 (2011). This burden is not satisfied by mere speculation. Rather, the

City must demonstrate that the danger it seeks to address is real, and that its
                                       -15-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 16 of 26 PageID 41




restriction will in fact alleviate it to a material degree.   Edenfield v. Fane, 507

U.S. 761, 770-71 (1993). To satisfy this requirement, the Supreme Court has

explained, “the government must demonstrate that alterative measures that

burden substantially less speech would fail to achieve the government’s interests,

not simply that the chosen route is easier.” McCullen v. Coakley, 573 U.S. 464,

495 (2015). See also id. at 494 (government must demonstrate that it “seriously

undertook to address the problem with less intrusive tools readily available to it”

and “considered different methods that other jurisdictions have found

effective.”). Finally, the Court cannot “simply take the City at its word that the

Ordinance serves the aforementioned interests.” Buehrle v. City of Key West, 813

F.3d 973, 978-79 (11th Cir. 2015). Rather, the City must show that it “rel[ied] on

at least some pre-enactment evidence that the regulation would serve its asserted

interests,” and that its concerns rest on “more than merely speculative factual

grounds.” Id. at 979, 980 (emphasis in original; quotations/citations omitted).

      Section 685.104(a)(3)(iv) fails the narrow tailoring test because the City

cannot show, with pre-enactment evidence, that the prohibition furthers its

objective in reducing the commission of crimes against children. The material

offered with the passage of the ordinance offers only conclusory statements,

without supporting evidence, that sexual offenders “have been known to use”

holiday and seasonal events to lure children to areas where children are

susceptible to attack. See Preamble, Ordinance 2015-214-E, Exhibit 1. Such

                                         -16-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 17 of 26 PageID 42




evidence is insufficient to meet the City’s burden to show that the provision is

narrowly tailored. See Buehrle, 813 F.3d at 979 (conclusory statement of purpose

rejected where it contained no details, data, or evidence). The City did not rely on

any information showing that any crime committed by someone already on the

sex offender registry was in any way related to displays attracting children to

their home. See Packingham v. North Carolina, 137 S. Ct. 1730, 1733-34 (2017)

(striking down law prohibiting sex offenders from accessing social media sites

because the state did not meet its burden to show that [the] sweeping law [was]

necessary or legitimate to serve that purpose” of protecting children). In short,

the City cannot show that the ordinance directly advances its asserted goal.

Section 685.104(a)(3)(iv) therefore fails intermediate scrutiny.

          Section 685.104(a)(3)(iv) also fails intermediate scrutiny because it is

fatally overinclusive due to its extraordinary overbreadth and ambiguity. It bans

“any display”—defined as “any decoration, including but not limited to” a list of

items3—“including but not limited to displays for any nationally or locally

recognized holiday or seasonal event or practice, to be visible from the exterior

of the residence … if such display is primarily targeted to entice, attract, or lure

a child onto” the property. Section 685.104(a)(3). Thus, the law covers any

decoration—not just seasonal or holiday decorations—visible from the exterior,

which includes those inside the home that can be seen through the window. This


3   The list concludes with “etc.,” confirming that the definition is limitless.
                                                   -17-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 18 of 26 PageID 43




could conceivably include any light, candle, picture, or piece of furniture inside

or outside the home.

      Moreover, although not an outright ban on all displays, “ambiguities as to

what registrants are required to” do to conform to the law, “combined with the

criminal sanctions for failure to [comply], unnecessarily chill protected speech.”

Doe v. Harris, 772 F.3d 563, 579 (9th Cir. 2014) (law requiring sex offenders to

report internet identifiers failed intermediate scrutiny even though it did not

ban communication, but only deterred it with onerous reporting requirements).

See also Virginia v. Hicks, 539 U.S. 113, 118–19 (2003) (law impermissibly

overbroad if it “punishes a ‘substantial’ amount of protected free speech, ‘judged

in relation to the statute's plainly legitimate sweep.’”) (quoting Broadrick v.

Oklahoma, 413 U.S. 601, 615 (1973)). As demonstrated below in the section on

vagueness, it is impossible to determine whether a display could be interpreted

as “primarily targeted to entice, attract, or lure a child” onto the property. The

displays which Plaintiffs want to place on their property are aimed at the entire

community, but Plaintiffs are confronted with the dilemma of whether the

displays could be construed by an individual law enforcement officer as

targeting children. As a result, Plaintiffs and other registrants err on the side of

caution and refrain from placing displays of any type outside their home for fear

of arrest and prosecution. Thus, the “chilling effect” of the ordinance operates as

a ban on all displays. Harris, 772 F.3d at 582.

                                        -18-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 19 of 26 PageID 44




      Narrow tailoring requires “a close fit between ends and means” to ensure

that the law does not “‘burden substantially more speech than is necessary to

further the government's legitimate interests.’” McCullen, 573 U.S. at 486

(quoting Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989)) (striking down

law imposing speech buffer zones around abortion clinics in part because the law

applied statewide instead of targeting the one problematic clinic). The display

ban cannot satisfy this test.     The breadth of its coverage—including any

decoration regardless of its probable connection to criminal activity—combined

with the chilling effect of its ambiguity—transforming the provision into a total

ban—render the provision fatally overinclusive. See Harris, 772 F.3d at 582

(holding that requirement on sex offenders to report their internet identifiers

was not narrowly tailored in part because it applied “to all websites and all

forms of communication, regardless of whether the website or form of

communication is a likely or even a potential forum for engaging in illegal

activity.”); White v. Baker, 696 F. Supp. 2d 1289, 1311 (N.D. Ga. 2010) (similar

holding); Cutting v. City of Portland, Maine, 802 F.3d 79, 82, 90 (1st Cir. 2015)

(ordinance prohibiting standing on a median, which city enforced against

panhandlers, was not narrowly tailored because it was “geographically

overinclusive”).

      Plaintiffs are therefore likely to succeed in showing that § 685.104(a)(3)(iv)

violates the First Amendment.

                                       -19-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 20 of 26 PageID 45




   III.   Plaintiffs Are Likely to Succeed on the Merits of Their Claim
          in Count III That § 685.104(a)(3)(iv) Is Impermissibly Vague
          in Violation of the Fourteenth Amendment.

       “It is, by now, a ‘basic principle of due process’ that an enactment is void

for vagueness if its prohibitions are not clearly defined.” Burns, 999 F.3d at 1349

(quoting Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)). A law violates

the Due Process Clause of the Fourteenth Amendment and is void for vagueness

if it “fails to provide a person of ordinary intelligence fair notice of what is

prohibited or is so standardless that it authorizes or encourages seriously

discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304

(2008). “When speech is involved, rigorous adherence to those requirements is

necessary to ensure that ambiguity does not chill protected speech.” F.C.C. v. Fox

Television Stations, Inc., 567 U.S. 239, 253–54 (2012). In fact, when protected

speech is at issue, a “greater degree of specificity” is required. Smith v. Goguen,

415 U.S. 566, 573 (1974). See also Holder v. Humanitarian Law Project, 561

U.S. 1, 19 (2010) (quotations/citations omitted) (“[W]hen a statute interferes

with the right of free speech or of association, a more stringent vagueness test

should apply.”). That is because “a vague statute . . . operates to inhibit the

exercise of [First Amendment] freedoms” because “[u]ncertain meanings

inevitably lead citizens to steer far wider of the unlawful zone . . . than if the

boundaries of the forbidden areas were clearly marked.” Grayned, 408 U.S. at

109.

                                        -20-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 21 of 26 PageID 46




       The display ban in section 685.104(a)(3)(ii) is unconstitutionally vague on

several fronts. First, it is impossible to determine what constitutes a display

that “is primarily targeted to entice, attract, or lure a child” onto the property.

The phrase is highly subjective, as different people undoubtedly have differing

views on what is child-oriented.4 Is the Christmas display that Plaintiffs want to

put out that includes lights, wreaths, decorations and features either a cross or

manger scene one that is “primarily targeted to entice, attract, or lure a child

onto any residence or property?” Christmas is appealing to adults and children

alike, but children have a particular interest in the holiday—does that make

Christmas displays “primarily targeted” toward them? What if a registered

offender puts out a University of Florida football flag? A young football fan

could stop in front of the property to say “Go Gators”—does this render the

display prohibited, because a child has been “entice[d]” to stop? What about a

fall/Thanksgiving display which features a harvest wreath of fall florals and

greenery, along with pumpkins and a cornucopia? The Ordinance does not say

whether these typical displays are permitted.

       The word “primarily” is also impermissibly vague. Does “primarily” mean

that the display must be “mostly” targeted to “entice, attract, or lure” children?


4 It is also unclear whether the phrase operates as a mens rea requirement, in that registrants
will only violate it if they intend to target a display toward children, or whether the provision is
violated if the display is determined to be targeted toward children regardless of the registrant’s
intent. Faced with this uncertainty, Plaintiffs, and all registrants, undoubtedly avoid all displays
altogether.
                                               -21-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 22 of 26 PageID 47




In other words, could there be a display that is only somewhat targeted toward

children that does not violate the Ordinance?         The Ordinance contains no

answers.      In Doe v. Cooper, the Fourth Circuit held that a state statute

prohibiting the presence of registered sex offenders in places “where minors

gather for regularly scheduled educational, recreational, or social programs” was

vague in violation of due process. 842 F.3d 833, 844 (4th Cir. 2016). Central to

the court’s holding was the absence of a “principled standard” for determining

whether such programs are “regularly scheduled.” Id. at 844. And the statute

provided “no examples” to guide offenders or law enforcement as to how

frequently the programs would need to occur in order to be “regularly scheduled.”

Id.   Section 685.104(a)(3)(ii) suffers from a similarly vague adverb.           The

provision provides no standard to determine what it means to be primarily

targeted to entice, attract, or lure a child. Because the Ordinance “contains no

standard for determining what a [registrant] has to do in order to satisfy” it, it is

void for vagueness.    Kolender v. Lawson, 461 U.S. 352, 358 (1983) (statute

requiring persons to carry “credible and reliable identification” void for

vagueness).

      The Supreme Court has invalidated similarly vague phrases. In Cincinnati

v. Coates, the Supreme Court held that an ordinance which banned groups

assembled on sidewalks from acting in a “manner annoying to persons passing

by” was unconstitutionally vague because “men of common intelligence must

                                        -22-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 23 of 26 PageID 48




necessarily guess at its meaning.” 402 U.S. 611, 614 (1971). See also City of

Chicago v. Morales, 527 U.S. 41, 56 (1999) (phrase “to remain in any one place

with no apparent purpose” unconstitutionally vague); Johnson v. United States,

576 U.S. 591, 596-606 (2015) (phrase “otherwise involves conduct that presents a

serious potential risk of physical injury to another” was void for vagueness). The

display restriction should meet the same fate here.

      The provision provides law enforcement officers with unchecked

enforcement powers to arbitrarily decide on the spot what these terms mean and

against whom the law should be applied. Indeed, Plaintiffs have spoken to law

enforcement officers and asked whether certain displays were appropriate and

complied with the Ordinance, but have been given inconsistent answers. Because

the law leaves to individual police officers the task of “decid[ing], without any

legally fixed standards, what is prohibited and what is not in each particular

case[,]” it is void for vagueness. Giaccio v. State of Pa., 382 U.S. 399, 403 (1966).

      The impact of the provision is to deter Plaintiffs and others from exercising

their First Amendment rights because they cannot determine how to conform

their conduct to the law.     Faced with these restrictions, Plaintiffs, and any

reasonable person, will simply remain silent out of fear of being arrested—the

precise result the Due Process Clause and First Amendment are designed to

prevent. The Ordinance therefore is void for vagueness, and Plaintiffs are likely to

succeed on the merits of their Due Process Claim in Count III.

                                         -23-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 24 of 26 PageID 49




      Because the Ordinance’s “very existence may cause others not before the

court to refrain from constitutionally protected speech or expression[,]” Plaintiffs

seek a declaration that the Ordinance is facially unconstitutional and

unenforceable against anyone. Hill v. Colorado, 530 U.S. 703, 731-32 (2000)

(quoting Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973)).

IV.   Plaintiffs Have Established the Remaining Criteria for a
      Preliminary Injunction

      A. Irreparable Injury

      “[I]t is well settled that the ‘loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitute irreparable injury.’”        KH

Outdoor, LLC v. City of Titusville, 458, F.3d 1261, 1271-72 (11th Cir. 2006)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). The penalization of Plaintiff’s

First Amendment rights cannot be “cured by the award of monetary damages.”

KH Outdoor, 458 F.3d at 1272. Irreparable injury is therefore established.

      B. Balance of Harms and Public Interest

      The third and fourth preliminary injunction criteria are also satisfied.

With respect to the balance of harms, “even a temporary infringement of First

Amendment rights constitutes a serious and substantial injury.” Scott, 612 F.3d

at 1297. On the other side of the ledger, “the public when the state is a party

asserting harm, has no interest in enforcing an unconstitutional law.”           Id.

Enforcing unconstitutional laws also wastes valuable public resources. Finally,

because the public has no interest in enforcing an unconstitutional speech
                                        -24-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 25 of 26 PageID 50




restriction, an injunction against enforcement cannot “disserve” the public

interest. Id. at 1290, 1297.

                                CONCLUSION

      Based on the above argument and authorities, Plaintiffs respectfully

requests that this Court declare that both on their face and as applied to

Plaintiffs, §§ 685.104(a)(3)(ii) and (iv) of the Ordinance violate the First and

Fourteenth Amendments, and immediately enjoin the City of Jacksonville and its

agents from enforcing said sections of the Ordinance.




                                     Respectfully submitted,


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                                      -25-
Case 3:22-cv-00931-TJC-PDB Document 2 Filed 08/26/22 Page 26 of 26 PageID 51




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I electronically filed today, August 26, 2022, the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all persons registered to receive electronic

notifications for this case. I also served a copy of this motion, together with the

Verified Complaint, on Defendant City of Jacksonville via email, as follows:

      General Counsel
      City of Jacksonville
      Jason Teal, JTeal@coj.net
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      Craig Feiser, CFeiser@coj.net



                                      By:     s/Dante P. Trevisani
                                              Dante P. Trevisani




                                       -26-
